187 F.2d 858
    S. P. BEECHER, Appellant,v.LEAVENWORTH STATE BANK et al., Appellees.
    No. 12084A.
    United States Court of Appeals Ninth Circuit.
    March 5, 1951.
    
      Appeal from the United States District Court for the Eastern District of Washington; Sam M. Driver, Judge.
      See also 187 F.2d 859.
      S. P. Beecher, in pro. per.
      Before DENMAN, Chief Judge, and STEPHENS and ORR, Circuit Judges.
      PER CURIAM.
    
    
      1
      In Beecher v. Leavenworth State Bank, 9 Cir., 184 F.2d 498, our No. 12,084A, we reserved jurisdiction over the orders of the district court of December 30, 1947, and August 23, 1948, approving reports of the receiver to the extent that those orders dealt with the payment of fees for legal services rendered by Attorney Horswill in connection with the receivership there considered. The orders, to the extent that they approved the payment of fees to Attorney Horswill, are affirmed.
    
    